                Case:18-80007-swd         Doc #:6 Filed: 02/20/18         Page 1 of 9



                        UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN


In Re: Dennis John Duchene, II                                 Case No: 1:17-bk-04463

                Debtor                                         Filed: Chapter 7

____________________________________/                          Hon: Scott W. Dales

John Miller

                Plaintiff-Creditor
v.                                                     Adversary Proceeding No: 18-80007

Dennis John Duchene, II

                Defendant-Debtor.

____________________________________/

Donald J. Baranski (P41101)                            Charles R. Cuzydlo (P48503)
Law Offices of Casey D. Conklin, PLC                   CUZYDLO LAW GROUP, PLLC
Attorney for Creditor                                  Attorney for Debtor
4084 Okemos Rd., Suite B                               2193 Association Drive, Suite 500
Okemos, MI 48864                                       Okemos, MI 48864
(517) 522-2550                                         (517) 853-3962

______________________________________________________________________________

                         ANSWER AND AFFIRMATIVE DEFENSES

        Now comes Dennis John Duchene, II (“Defendant” or “Duchene”), by and through his

attorney, Charles R. Cuzydlo, and answers Plaintiff’s Complaint to Determine Non-Dischargeability

as follows:

     1. In response to paragraph one (1) of Plaintiff’s Complaint, Defendant states that no response

        is necessary as there are no allegations directed against Defendant.

     2. In response to paragraph two (2) of Plaintiff’s Complaint, Defendant states that no response

        is necessary as there are no allegations directed against Defendant.




                                                   1
           Case:18-80007-swd         Doc #:6 Filed: 02/20/18        Page 2 of 9



3. In response to paragraph three (3) of Plaintiff’s Complaint, Defendant admits the allegations

   contained therein.

4. In response to paragraph four (4) of Plaintiff’s Complaint, Defendant admits the allegations

   contained therein.

5. In response to paragraph five (5) of Plaintiff’s Complaint, Defendant admits the allegations

   contained therein.

6. In response to paragraph six (6) of Plaintiff’s Complaint, Defendant admits the allegations

   contained therein.

7. In response to paragraph seven (7) of Plaintiff’s Complaint, Defendant admits the allegations

   contained therein.

8. In response to paragraph eight (8) of Plaintiff’s Complaint, Defendant denies the allegations

   contained therein.

9. In response to paragraph nine (9) of Plaintiff’s Complaint, Defendant lacks knowledge or

   information sufficient to form a belief as to the truth of those allegations contained therein

   and therefore denies same.

10. In response to paragraph ten (10) of Plaintiff’s Complaint, Defendant denies the allegations

   contained therein.

11. In response to paragraph eleven (11) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

12. In response to paragraph twelve (12) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

13. In response to paragraph thirteen (13) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.




                                             2
           Case:18-80007-swd         Doc #:6 Filed: 02/20/18        Page 3 of 9



14. In response to paragraph fourteen (14) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

15. In response to paragraph fifteen (15) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

16. In response to paragraph sixteen (16) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

17. In response to paragraph seventeen (17) of Plaintiff’s Complaint, Defendant he lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   contained therein and therefore, denies the allegations.

18. In response to paragraph eighteen (18) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

19. In response to paragraph nineteen (19) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

20. In response to paragraph twenty (20) of Plaintiff’s Complaint, Defendant admits the

   allegations contained therein.

21. In response to paragraph twenty-one (21) of Plaintiff’s Complaint, Defendant admits the

   allegations contained therein.

22. In response to paragraph twenty-two (22) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

23. In response to paragraph twenty-three (23) of Plaintiff’s Complaint, Defendant admits that

   he and Miller entered into various loans together, but denies the remaining allegations of the

   paragraph.

24. In response to paragraph twenty-four (24) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.


                                              3
           Case:18-80007-swd        Doc #:6 Filed: 02/20/18         Page 4 of 9



25. In response to paragraph twenty-five (25) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

26. In response to paragraph twenty-six (26) of Plaintiff’s Complaint, Defendant admits the

   allegations contained therein.

27. In response to paragraph twenty-seven (27) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

28. In response to paragraph twenty-eight (28) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

29. In response to paragraph twenty-nine (29) of Plaintiff’s Complaint, lacks knowledge or

   information sufficient to form a belief as to the truth of those allegations contained therein

   and therefore denies same.

30. In response to paragraph thirty (30) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

31. In response to paragraph thirty-one (31) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

32. In response to paragraph thirty-two (32) of Plaintiff’s Complaint, Defendant admits the

   allegations contained therein.

33. In response to paragraph thirty-three (33) of Plaintiff’s Complaint, Defendant states the

   referenced documents speak for themselves, and further states that Inspired Business

   Development, LLC is not a debtor or defendant in this matter and deny the balance of the

   allegations.

34. In response to paragraph thirty-four (34) of Plaintiff’s Complaint, Defendant admits he

   borrowed $10,000.00 from plaintiff, but denies as untrue the remaining allegations of the

   paragraph and further states the documents speak for themselves.


                                             4
          Case:18-80007-swd             Doc #:6 Filed: 02/20/18    Page 5 of 9



35. In response to paragraph thirty-five (35) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

36. In response to paragraph thirty-six (36) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

   36. [sic] In response to paragraph thirty-six (36) of Plaintiff’s Complaint, Defendant admits

   the allegations contained therein.

37. In response to paragraph thirty-seven (37) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

38. In response to paragraph thirty-eight (38) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

39. In response to paragraph thirty-nine (39) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

40. In response to paragraph forty (40) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein as untrue.

41. In response to paragraph forty-one (41) of Plaintiff’s Complaint, Defendant admits the

   allegations contained therein.

42. In response to paragraph forty-two (42) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

43. In response to paragraph forty-three (43) of Plaintiff’s Complaint, Defendant admits the

   allegations contained therein.

44. In response to paragraph forty-four (44) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

45. In response to paragraph forty-five (45) of Plaintiff’s Complaint, Defendant admits the

   allegations contained therein.


                                              5
           Case:18-80007-swd          Doc #:6 Filed: 02/20/18          Page 6 of 9



46. In response to paragraph forty-six (46) of Plaintiff’s Complaint, Defendant lacks knowledge

   or information as to what plaintiff learned, and therefore denies said allegations.

47. In response to paragraph forty-seven (47) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

48. In response to paragraph forty-eight (48) of Plaintiff’s Complaint, Defendant denies the

   allegations contained therein.

49. In response to paragraph forty-nine (49) of Plaintiff’s Complaint, Defendant admits the

   allegations contained therein and further states the district and circuit court records speak for

   themselves.

50. In response to paragraph fifty (50) of Plaintiff’s Complaint, Defendant admits the allegations

   contained therein and further states the district court records speak for itself.

51. In response to paragraph fifty-one (51) of Plaintiff’s Complaint, Defendant admits the

   allegations contained therein and further states the district and circuit court records speak for

   themselves.

52. In response to paragraph fifty-two (52) of Plaintiff’s Complaint, Defendant admits the

   allegations contained therein and further states the district and circuit court records speak for

   themselves.

53. In response to paragraph fifty-three (53) of Plaintiff’s Complaint, Defendant admits the

   allegations contained therein and further states the district and circuit court records speak for

   themselves.

54. In response to paragraph fifty-four (54) of Plaintiff’s Complaint, Defendant admits the

   allegations contained therein and further states the district, circuit, appellate and bankruptcy

   court records speak for themselves.




                                               6
              Case:18-80007-swd         Doc #:6 Filed: 02/20/18         Page 7 of 9



   55. In response to paragraph fifty-five (55) of Plaintiff’s Complaint, Defendant admits that the

      Court of Appeals reversed and remanded the matter back to the 29th Judicial Circuit for the

      County of Clinton.

                                            COUNT I

   56. Defendant incorporates by reference Paragraphs one (one) through fifty-five (55).

   57. In response to paragraph fifty-seven (57) of Plaintiff’s Complaint, Defendant denies the

      allegations contained therein.

   58. In response to paragraph fifty-eight (58) of Plaintiff’s Complaint, Defendant denies the

      allegations contained therein.

   59. In response to paragraph fifty-nine (59) of Plaintiff’s Complaint, Defendant denies the

      allegations contained therein.

   60. In response to paragraph sixty (60) of Plaintiff’s Complaint, Defendant denies the allegations

      contained therein.

   61. In response to paragraph sixty-one (61) of Plaintiff’s Complaint, Defendant denies the

      allegations contained therein.

      WHEREFORE, Defendant, requests this Honorable Court:

          A. Enter a judgment of no cause of action against Defendant and award Defendant his
             costs and attorney fees.

          B. Grant such other relief that it deems just, equitable and fair.
                                                      Respectfully Submitted,

                                                      CUZYDLO LAW GROUP, PLLC



Dated: 2/19/2018                                      /s/ Charles R. Cuzydlo
                                                      Charles R. Cuzydlo
                                                      Attorney for Defendant



                                                 7
               Case:18-80007-swd           Doc #:6 Filed: 02/20/18        Page 8 of 9



                                   AFFIRMATIVE DEFENSES

       NOW COMES Dennis John Duchene, II (“Defendant” or “Duchene”), by and through his

attorney, Charles R. Cuzydlo, and asserts the following Affirmative Defenses:

1.     The Complaint fails to state a claim upon which relief can be granted.

2.     Defendant does not owe any money to the Plaintiffs.

3.     Plaintiffs have not suffered any damages for which he is entitled to any relief from
       Defendant.

4.     Plaintiffs have failed to mitigate their damages.

5.     Plaintiffs damages, if any, were the result of their own actions or inactions.

6.     Plaintiffs have failed to act in good faith.

7.     Plaintiffs were the first party to breach the contract.

8.     Plaintiffs have unclean hands.

9.     Defendant asserts any and all defenses available under the 18 USC §1962(C) et seq.

10.    Defendant asserts any and all defenses available under the 18 USC §1962(d) et seq.

11.    Defendant asserts any and all defenses available under the MCL §445.1501 et seq.

12.    Defendant asserts any and all defenses available under the common law of the State of
       Michigan.

11.    Defendant asserts any and all defenses available under the Michigan Limited Liability Act.

12.    Accord and satisfaction.

13.    Arbitration agreement.

14.    Business judgment rule.

15.    Failure to join a necessary or an indispensable party.

16.    Failure to mitigate damages.

17.    Lack of good faith.

18.    Unclean hands.


                                                      8
             Case:18-80007-swd          Doc #:6 Filed: 02/20/18         Page 9 of 9



19.   Promissory estoppel.

20.   Defendant reserves the right to assert additional defenses, as they become known.

      WHEREFORE, Defendant, requests this Honorable Court:

          C. Enter a judgment of no cause of action against Defendant and award Defendant his
             costs and attorney fees.

          D. Grant such other relief that it deems just, equitable and fair.

                                                      Respectfully Submitted,

                                                      CUZYDLO LAW GROUP, PLLC


Dated: 2/19/2018                                      /s/ Charles R. Cuzydlo
                                                      Charles R. Cuzydlo
                                                      Attorney for Defendant




                                                 9
